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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

DONNA HEDGES, 20 Civ. 6280 (JGK)

Plaintiff, ORDER

 

- against -
DEVA CONCEPTS LLC,

Defendant.

 

JOHN G. KOELTL, District Judge:

The parties are directed to file a Rule 26(f) report by
October 30, 2020.
SO ORDERED.

Dated: New York, New York
October 21, 2020

SD i ew

John G. Koeitl
“United States District Judge

 

 

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